                 Case 1:22-cv-00245-RJL Document 7-1 Filed 02/02/22 Page 1 of 2

                       UNITED STATES DISTRICT AND BANKRUPTCY COURTS
                                FOR THE DISTRICT OF COLUMBIA

ANGELA D. CAESAR
Clerk of Court



                              NOTICE OF RIGHT TO CONSENT TO TRIAL
                            BEFORE A UNITED STATES MAGISTRATE JUDGE


      The substantial criminal caseload in this Court and the requirements of the criminal Speedy Trial
      Act frequently result in the delay in the trial of civil cases. Aware of the hardship and expense to
      the parties, counsel, and witnesses caused by the delays which are beyond the control of the Court,
      this notice is to advise you of your right to trial of your case by a United States Magistrate Judge.
      By statute, 28 USC §636(c), Fed.R.Civ.P. 73 and Local Civil Rule 73.1, the parties, by consent, can
      try their case by means of a jury trial or bench trial before a United States Magistrate Judge.
      Appeals from judgments and final orders are taken directly to the United States Court of Appeals
      for the District of Columbia Circuit, in the same manner as an appeal from a judgment of a United
      States District Judge in a civil case.

      WHAT IS THE PROCEDURE?

      One of the matters you are required to discuss at the meet-and-confer conference mandated by Local
      Civil Rule 16.3 is whether the case should be assigned to a United States Magistrate Judge for all
      purposes, including trial

      All parties must consent before the case is assigned to a Magistrate Judge for trial. You may consent
      at any time prior to trial. If you expressly decline to consent or simply fail to consent early in the
      case, you are not foreclosed from consenting later in the case. However, a prompt election to
      proceed before a Magistrate Judge is encouraged because it will facilitate a more orderly scheduling
      of the case.

      Counsel for the plaintiff has been furnished a copy of the “Consent to Proceed Before a United
      States Magistrate Judge for all Purposes” form. If and when the form is executed, your response
      should be made to the Clerk of the United States District Court only.

      WHAT IS THE ADVANTAGE?

      The case will be resolved sooner and less expensively. The earlier the parties consent to assigning
      the case to a Magistrate Judge the earlier a firm and certain trial date can be established, even if the
      case is to be tried to a jury.

      Upon the filing of the consent form the case will be randomly assigned for all purposes to a
      Magistrate Judge.




      n:\Forms\Notice of Right to Consent to Trial
      CO-942A Rev. 2/17
                        Case 1:22-cv-00245-RJL Document 7-1 Filed 02/02/22 Page 2 of 2
AO 85 (Rev. 02/17) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                         UNITED STATES DISTRICT COURT
                                                                            for the
                                                        __________ District of __________

                                                                               )
                                 Plaintiff                                     )
                                    v.                                         )      Civil Action No.
                                                                               )
                               Defendant                                       )



           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

         Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct
all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment
may then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge
may exercise this authority only if all parties voluntarily consent.


        You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise
be involved with your case.


       Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.


        Printed names of parties and attorneys                               Signatures of parties or attorneys                  Dates




                                                                    Reference Order

        IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.



Date:
                                                                                                    District Judge’s signature



                                                                                                     Printed name and title

Note:     Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
          magistrate judge. Do not return this form to a judge.



         Print                           Save As...                                                                              Reset
